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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

             GUSTAVO MARTINEZ,                         ::    MOTION TO VACATE
                 Movant,                               ::    28 U.S.C. § 2255
                                                       ::
                   v.                                  ::    CRIMINAL NO.
                                                       ::    1:08-CR-0363-TWT-RGV-5
             UNITED STATES OF AMERICA,                 ::
                 Respondent.                           ::    CIVIL ACTION NO.
                                                       ::    1:12-CV-1202-TWT-RGV


                  ORDER FOR SERVICE OF REPORT AND RECOMMENDATION

                   Attached is the report and recommendation of the United States Magistrate

             Judge made in accordance with 28 U.S.C. § 636(b)(1) and this Court’s Local Rule 72.

             Let the same be filed and a copy, with a copy of this order, be served upon plaintiff.

                   Plaintiff may file written objections, if any, to the report and recommendation

             within fourteen (14) days of receipt of this order. 28 U.S.C. § 636(b)(1). Should

             objections be filed, they shall specify with particularity the alleged error(s) made. If

             no objections are filed, the report and recommendation may be adopted as the opinion

             and order of the district court and any appeal of factual findings will be limited to a

             plain error review. United States v. Slay, 714 F.2d 1093 (11th Cir. 1983).




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                   The Clerk is DIRECTED to submit the report and recommendation with

             objections, if any, to the district court after expiration of the above time period.

                   IT IS SO ORDERED this 6th day of August, 2012.



                                                     RUSSELL G. VINEYARD
                                                     UNITED STATES MAGISTRATE JUDGE




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                             IN THE UNITED STATES DISTRICT COURT
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             GUSTAVO MARTINEZ,                          ::   MOTION TO VACATE
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             UNITED STATES OF AMERICA,                  ::
                 Respondent.                            ::   CIVIL ACTION NO.
                                                        ::   1:12-CV-1202-TWT-RGV

                              FINAL REPORT AND RECOMMENDATION

                   This matter has been submitted to the undersigned Magistrate Judge for

             consideration of movant Gustavo Martinez’s pro se motion to vacate, set aside, or

             correct his sentence pursuant to 28 U.S.C. § 2255. For the following reasons, the

             undersigned RECOMMENDS that Martinez’s § 2255 motion, [Doc. 684], as

             amended, [Doc. 700], be DISMISSED WITHOUT PREJUDICE for his failure to

             obey lawful Court orders.

                   In his initial § 2255 motion, Martinez offered only a single sentence argument

             for each claim, [Doc. 684 at 4], and requested an extension to file a belated brief, [id.

             at 17]. Accordingly, on April 23, 2012, the Court ordered Martinez to amend his

             § 2255 motion within thirty days by filing a brief in support of the claims listed




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             therein. [Doc. 687]. The Court advised Martinez that failure to file a brief within the

             specified period of time may result in the dismissal of this action. [Id.].

                   On June 12, 2012, after the Court’s deadline had expired and Martinez had not

             filed an amendment to his motion to vacate, the Court ordered Martinez to show cause

             within fifteen days why this action should not be dismissed pursuant to Federal Rule

             of Civil Procedure 41(b) for failure to comply with a court order. [Doc. 699]. The

             Court warned Martinez that failure to file a response within the specified period of

             time may result in the dismissal of this action. [Id.]. More than fifteen days have

             passed, and Martinez has not responded to the Court’s show cause order.

                   On June 17, 2012, nearly a month after the Court’s deadline to amend had

             expired, Martinez signed an amended motion to vacate. [Doc. 700 at 13]. However,

             Martinez did not brief the issues as ordered or provide any factual details to support

             his claims. [Id. at 4-5, 7-8, 14, 17-19]. It is well settled that mere conclusory

             statements unsupported by specifics do not raise a constitutional issue in a habeas case.

             Lynn v. United States, 365 F.3d 1225, 1238-39 (11th Cir. 2004) (per curiam) (citations

             omitted).

                   Because Martinez did not file an amended § 2255 motion within thirty days as

             originally ordered, did not brief the issues in his amendment, and never responded to

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             the Court’s show cause order to explain why he failed to comply with the original

             order, IT IS RECOMMENDED that this 28 U.S.C. § 2255 motion to vacate sentence,

             [Doc. 684], as amended, [Doc. 700], be DISMISSED WITHOUT PREJUDICE for

             Martinez’s failure to follow lawful orders of this Court. See LR 41.3A(2), NDGa.

                   IT IS FURTHER RECOMMENDED, pursuant to Rule 11 of the Rules

             Governing Section 2255 Proceedings for the United States District Courts, that the

             Court decline to grant Martinez a certificate of appealability.

                   The Clerk is DIRECTED to terminate the referral to the Magistrate Judge.

                   SO RECOMMENDED, this 6th day of August, 2012.



                                                     RUSSELL G. VINEYARD
                                                     UNITED STATES MAGISTRATE JUDGE




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